     Case 3:20-cv-00079-MMD-CLB Document 150 Filed 10/27/21 Page 1 of 2



1                                UNITED STATES DISTRICT COURT

2                                       DISTRICT OF NEVADA

3                                                   ***

4      KENTRELL D. WELCH,                                    Case No. 3:20-CV-0079-MMD-CLB
5                                           Plaintiff,    ORDER RE: MOTION FOR LEAVE TO
                                                           SUBMIT AMENDED COMPLAINT
6             v.
                                                                     [ECF Nos. 135, 147]
7      ISIDRO BACA, et al.,
8                                      Defendants.
9

10           Before the Court is Plaintiff Kentrell Welch’s (“Welch”) motion for leave to file an
11    amended complaint, (ECF No. 135), which was filed on September 14, 2021. After the
12    motion for leave to file an amended complaint was fully briefed, Welch filed a second
13    motion for leave to file a first amended complaint, (ECF No. 147). The Court denies as
14    moot Welch’s first filed motion, ECF No. 135, and finds the operative motion to be ECF
15    No. 147.
16           An opposition to the motion for leave to file a first amended complaint was due on
17    October 21, 2021. To date, no opposition or response has been filed by Defendants. This
18    Court has instructed the Attorney General’s Office on several occasions that they shall
19    file oppositions or responses to motions to amend or risk that the motions be granted as
20    unopposed under LR 7-2(d). Accordingly, the Court will sua sponte grant Defendants an
21    extension of time to file an opposition to the motion to amend by November 10, 2021.
22           Defendants are cautioned that to the extent their opposition requests that the
23    amended complaint be screened, the Court may decline to do so. 28 U.S.C. § 1915A
24    requires screening of a prisoner’s complaint “before docketing, if feasible or, in any event,
25    as soon as practicable after docketing.” 28 U.S.C. § 1915A(a). The screening provision
26    does not require a court, either explicitly or implicitly, to screen every time a plaintiff seeks
27    to amend the complaint. Therefore, the decision to engage in post-answer court screening
28    is made on a case-by-case basis.
     Case 3:20-cv-00079-MMD-CLB Document 150 Filed 10/27/21 Page 2 of 2




1            For good cause appearing, IT IS THEREFORE ORDERED that Welch’s motion

2     for leave of court to submit a first proposed amended complaint, (ECF No. 135), is

3     DENIED AS MOOT.

4            IT IS FURTHER ORDERED that Defendants will have until November 10, 2021,

5     to file an opposition to the motion to amend, if they choose to do so.

6            IT IS SO ORDERED.

7            DATED: ________________.
                     October 27, 2021

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                                                UNITED STATES MAGISTRATE JUDGE
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